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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

RAYNE UPTON, individually and * CIVIL ACTION

on behalf of her minor daughter, G.H. *
* NO. 21-407

versus *
* SECTION “J”

RODNEY VICKNAIR, ET AL. * JUDGE BARBIER
*
* MAGISTRATE DIVISION “4”
* MAGISTRATE JUDGE ROBY
*

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DECLARATION OF RODNEY VICKNAIR

Rodney Vicknair declares as follows:

I, Rodney Vicknair, am a person of the full age of majority and a resident of St. Amant,
Louisiana. I have personal knowledge of the facts stated in this Declaration.

I am a defendant in the captioned lawsuit. I have read the Motion for Partial Summary
Judgment filed by Rayne Upton as well as the attachments, specifically including the Declarations
of Rayne Upton and G.H.

With regard to the Declaration of Rayne Upton (Rec. Doc. 42-4), I admit to paragraphs 2-5
and 13. I deny paragraphs 6-10, 12 and 15-18 as I never did any of these claimed actions. With
regard to paragraphs 1, 11, 14, 19 and 20 I have no personal knowledge of these contentions. With
regard to Paragraphs 21 and 22, the letter from Superintendent Ferguson speaks for itself.

With regard to the Declaration of G. H. (Rec. Doc. 42-5), I admit to paragraphs 2-5 and 9.
I deny paragraph 7 as it was Rayne Upton, not me, who initiated communication after the initial
interactions. I deny paragraphs 6, 8 and 10-19 as I never did any of these claimed actions. With

regard to paragraphs 1 and 20 I have no personal knowledge of these contentions.

EXHIBIT A
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With regard to Plaintiff's Statement of Material Facts in Support of Summary Judgment
(Rec. Doc. 42-3), I admit paragraphs 1-5 and 11-14. I deny paragraphs 6-10 as I never did any of
these claimed actions. I also deny paragraph 15 as I was not fired by the NOPD. I resigned,

As provided by 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct.

Executed on January 18, 2022 at St. Amant, Louisiana.

 
  

 

RODNEY VICKNAIR

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